108 F.3d 329
    NOTICE: THIS SUMMARY ORDER MAY NOT BE CITED AS PRECEDENTIAL AUTHORITY, BUT MAY BE CALLED TO THE ATTENTION OF THE COURT IN A SUBSEQUENT STAGE OF THIS CASE, IN A RELATED CASE, OR IN ANY CASE FOR PURPOSES OF COLLATERAL ESTOPPEL OR RES JUDICATA.  SEE SECOND CIRCUIT RULE 0.23.Richard MADDICKS, Petitioner-Appellant,v.Charles SCULLY, Respondent-Appellee.
    No. 96-2182.
    United States Court of Appeals, Second Circuit.
    March 5, 1997.
    
      Appeal from the United States District Court for the Southern District of New York.
      Appearing for Appellant:  Robert L. Weinstein, N.Y., N.Y.
      Appearing for Appellee:  Rona Feinberg, Ass't Dist. Att'y, N.Y., N.Y.
      Present:  HONORABLE ELLSWORTH A. VAN GRAAFEILAND, HONORABLE THOMAS J. MESKILL, HONORABLE AMALYA L. KEARSE, Circuit Judges.
    
    
      1
      This cause came on to be heard on the transcript of record from the United States District Court for the Southern District of New York, and was argued by counsel.
    
    
      2
      ON CONSIDERATION WHEREOF, it is now hereby ordered, adjudged, and decreed that the judgment of said District Court be and it hereby is affirmed substantially for the reasons stated in Magistrate Judge Francis's Report and Recommendation dated April 5, 1990, adopted by District Judge Sprizzo's Order dated January 16, 1996.
    
    